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                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS
                              SPRINGFIELD DIVISION

THOMAS ATCHISON,                              )
    Plaintiff,                                )
                                              )
       v.                                     )            Case No. 23-cv-03188
                                              )
MISTY VAUGHN et al.,                          )
    Defendants.                               )

                                          ORDER

COLLEEN R. LAWLESS, United States District Judge:

       Before the Court for screening is a Complaint (Doc. 1) filed under 42 U.S.C § 1983

by Plaintiff Thomas Atchison, a prisoner at Menard Correctional Center. Plaintiff has also

filed Motions for Counsel (Doc. 5, 7) and Motions for Status (Docs. 6, 9).

I.     Complaint

       A. Screening Standard

       The Court must “screen” Plaintiff’s Complaint and dismiss any legally insufficient

claim or the entire action if warranted. 28 U.S.C. § 1915A. A claim is legally insufficient if

it “(1) is frivolous, malicious, or fails to state a claim upon which relief may be granted;

or (2) seeks monetary relief from a defendant who is immune from such relief.” Id. In

reviewing the Complaint, the court accepts the factual allegations as accurate, liberally

construing them in the plaintiff’s favor. Turley v. Rednour, 729 F.3d 645, 649 (7th Cir. 2013).

However, conclusory statements and labels are insufficient. Enough facts must be




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provided to “state a claim for relief that is plausible on its face.” Alexander v. United States,

721 F.3d 418, 422 (7th Cir. 2013) (citation omitted).

       B. Factual Allegations

       Plaintiff identifies the following DeWitt County Jail Officials as Defendants:

Administrator Misty Vaughn, Chief Deputy Robert Spickard, and Corrections Officers

Joshua Becker and Kylie Covalesky.

       Plaintiff was confined to segregation on the following dates: December 11 to 25,

2020; February 24 to March 11, 2021; and June 7 to 15, 2021. During those periods,

Defendants Becker or Covalesky required Plaintiff to relinquish custody of his mattress

daily from 6:30 am to 10:30 pm. In March 2021, Defendant Vaughn responded to a

grievance Plaintiff submitted regarding this practice.

       C. Analysis

       A detainee “challenging the conditions of his pretrial detention need show only

that a defendant’s conduct was ’objectively unreasonable.’” Kemp v. Fulton Cnty., 27 F.4th

491, 495 (7th Cir. 2022) (quoting Hardeman v. Curran, 933 F.3d 816, 824 (7th Cir. 2019); see

also Kingsley v. Hendrickson, 576 U.S. 389, 398 (2015) (holding that “in the absence of an

expressed intent to punish, a pretrial detainee can nevertheless prevail by showing that

the actions are not rationally related to a legitimate nonpunitive governmental purpose

or that the actions appear excessive in relation to that purpose” (internal quotation marks

omitted)).

       Plaintiff does not state a plausible claim against Defendants Becker or Covalesky.

Initially, the Court notes that Plaintiff has no constitutional right to a mattress at all times.

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See Murphy v. Walker, 51 F.3d 714, 721 (7th Cir. 1995) (concluding a pretrial detainee has

“no constitutional right to confinement in comfort”); Tesch v. County of Green Lake, 157

F.3d 465, 476 (7th Cir. 1998) (“Correctional officials are not required to provide

comfortable jails, even for pretrial detainees.”). Furthermore, Plaintiff does not provide

facts from which the Court can infer the decision to remove the mattress was not

rationally related to a legitimate nonpunitive governmental purpose. See McClure v.

Haste, 820 F. App’x 125, 129 (3d Cir. 2020) (no legitimate penological reason for denying

a mattress during the day where deprivation caused the worsening of the plaintiff’s

preexisting back problems).

       Regarding Defendant Vaughn, Plaintiff’s account only establishes that she

responded to Plaintiff’s grievance regarding the alleged constitutional violation.

However, participation in a formal grievance process without personal involvement in

the claimed deprivation, which Plaintiff does not allege, is insufficient to establish a

constitutional violation under § 1983. See Owens v. Hinsley, 635 F.3d 950, 953 (7th Cir.

2011) (“Prison grievance procedures are not mandated by the First Amendment and do

not by their very existence create interests protected by the Due Process Clause, and so

the alleged mishandling of [the plaintiff’s] grievances by persons who otherwise did not

cause or participate in the underlying conduct states no claim.”).

       Under Federal Rule of Civil Procedure 8(a), a complaint must contain a “short and

plain statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P.

8(a)(2). “This requirement is satisfied if the complaint (1) describes the claim in sufficient

detail to give the defendant fair notice of what the claim is and the grounds upon which

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it rests and (2) plausibly suggests that the plaintiff has a right to relief above a speculative

level.” Bravo v. Midland Credit Mgmt., 812 F.3d 599, 601–02 (7th Cir. 2016); see also

Charleston v. Bd. of Trs. of the Univ. of Ill. at Chi., 741 F.3d 769, 772 (7th Cir. 2013) (“[A]

plausible claim must include ‘factual content’ sufficient to allow the court ‘to draw the

reasonable inference that the defendant is liable for the misconduct alleged.’”) (quoting

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

       Plaintiff does not state a claim against Defendant Spickard as he does not include

the specific acts or omissions to infer a constitutional violation. See Collins v. Kibort, 143

F.3d 331, 334 (7th Cir. 1998) (“A plaintiff cannot state a claim against a defendant by

including the defendant’s name in the caption.”). Therefore, Plaintiff’s Complaint is

dismissed as it fails to state a claim against Defendants.

       However, when a plaintiff’s allegations in a complaint are inadequate to state a

claim, a district court “should give the litigant, especially a pro se litigant, an opportunity

to amend his complaint” unless doing so “would be futile or otherwise unwarranted.”

Tate v. SCR Med. Transp., 809 F.3d 343, 346 (7th Cir. 2015) (internal quotation marks

omitted). Therefore, the Court grants Plaintiff leave to file an amended pleading. If

Plaintiff elects to file an amendment, that filing must contain a “short and plain statement

of the claim showing that [he] is entitled to relief ….” Fed. R. Civ. P. 8(a)(2). The Court

does not accept piecemeal amendments. Plaintiff’s amended complaint must stand

independently without reference to his initial filing and contain all claims against all

defendants. Plaintiff’s amended complaint must specify the constitutional violation,

when it occurred, and the Defendant or Defendants personally involved. See Mitchell v.

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Kallas, 895 F.3d 492, 498 (7th Cir. 2018) (“For a defendant to be liable under section 1983,

she must be personally responsible for the alleged deprivation of the plaintiff’s

constitutional rights.”).

II.     Motions to Recruit Counsel and Status

        Plaintiff has no constitutional right to counsel, and the Court cannot require an

attorney to accept pro bono appointments in civil cases. The most the Court can do is ask

for volunteer counsel. See Jackson v. County of McLean, 953 F.2d 1070, 1071 (7th Cir. 1992)

(holding that although indigent civil litigants have no constitutional right to counsel, a

district court may, in its discretion, request counsel to represent indigent civil litigants in

certain circumstances). In considering Plaintiff’s motion for counsel, the Court must ask

two questions: “(1) has the indigent plaintiff made a reasonable attempt to obtain counsel

or been effectively precluded from doing so; and if so, (2) given the difficulty of the case,

does the plaintiff appear competent to litigate it himself?” Pruitt v. Mote, 503 F.3d 647, 654

(7th Cir. 2007).

        Plaintiff appends one letter (Doc. 7 at 2) from a law firm declining to represent

him. The Court finds Plaintiff has not demonstrated he reasonably attempted to obtain

counsel, which typically requires writing to several lawyers and attaching the responses

received. Accordingly, the Court denies Plaintiff’s Motions for Counsel (Docs. 5, 7). With

the entry of the Court’s Merit Review Order, Plaintiff’s Motions for status (Docs. 6, 9) are

moot.

IT IS THEREFORE ORDERED:

  1)    Plaintiff’s Motions for Counsel (Doc. [5], [7]) are DENIED.

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 2)   Plaintiff’s Motions for Status (Docs. [6], [9]) are MOOT.

 3)   The Court DISMISSES Plaintiff’s Complaint (Doc. [1]) under 28 U.S.C.
      1915A(b)(1) for failure to state a federal claim on which relief may be granted.

 4)   The Court GRANTS Plaintiff leave to file an amended complaint within thirty
      days of the entry of this order. If Plaintiff does not submit an amendment on or
      before the thirty-day deadline, the Court will dismiss Plaintiff’s case without
      prejudice.

ENTERED December 28, 2023.



                                            s/ Colleen R. Lawless
                                    ____________________________________
                                           COLLEEN R. LAWLESS
                                     UNITED STATES DISTRICT JUDGE




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